Case 3:10-cv-02476-H-BLM Document 1 Filed 12/02/10 PageID.1 Page 1 of 8




                                                     '10CV2476 H    BLM
Case 3:10-cv-02476-H-BLM Document 1 Filed 12/02/10 PageID.2 Page 2 of 8
Case 3:10-cv-02476-H-BLM Document 1 Filed 12/02/10 PageID.3 Page 3 of 8
Case 3:10-cv-02476-H-BLM Document 1 Filed 12/02/10 PageID.4 Page 4 of 8
Case 3:10-cv-02476-H-BLM Document 1 Filed 12/02/10 PageID.5 Page 5 of 8
Case 3:10-cv-02476-H-BLM Document 1 Filed 12/02/10 PageID.6 Page 6 of 8
Case 3:10-cv-02476-H-BLM Document 1 Filed 12/02/10 PageID.7 Page 7 of 8




                                                   '10CV2476 H   BLM
Case 3:10-cv-02476-H-BLM Document 1 Filed 12/02/10 PageID.8 Page 8 of 8
